        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 1 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 1 of 58




                           FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         LINDSAY HECOX; JANE DOE, with             No. 20-35813
         her next friends Jean Doe and John
         Doe,                                         D.C. No.
                                                   1:20-cv-00184-
                        Plaintiffs-Appellees,           DCN

           v.
                                                    AMENDED
         BRADLEY LITTLE, in his official             OPINION
         capacity as Governor of the State of
         Idaho; SHERRI YBARRA, in her
         official capacity as the Superintendent
         of Public Instruction of the State of
         Idaho and as a member of the Idaho
         State Board of Education;
         INDIVIDUAL MEMBERS OF THE
         STATE BOARD OF EDUCATION,
         in their official capacities; BOISE
         STATE UNIVERSITY; MARLENE
         TROMP, in her official capacity as
         President of Boise State University;
         INDEPENDENT SCHOOL
         DISTRICT OF BOISE CITY, # 1;
         COBY DENNIS, in his official
         capacity as superintendent of the
         Independent School District of Boise
         City #1; INDIVIDUAL MEMBERS
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 2 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 2 of 58
         2                      HECOX V. LITTLE


         OF THE BOARD OF TRUSTEES OF
         THE INDEPENDENT SCHOOL
         DISTRICT OF BOISE CITY, # 1; in
         their official capacities; INDIVIDUAL
         MEMBERS OF THE IDAHO CODE
         COMMISSION, in their official
         capacities,

                        Defendants-Appellants,

          and

         MADISON KENYON; MARY
         MARSHALL,

                        Intervenors.


         LINDSAY HECOX; JANE DOE, with             No. 20-35815
         her next friends Jean Doe and John
         Doe,                                         D.C. No.
                                                   1:20-cv-00184-
                        Plaintiffs-Appellees,           DCN

             v.

         BRADLEY LITTLE, in his official
         capacity as Governor of the State of
         Idaho; SHERRI YBARRA, in her
         official capacity as the Superintendent
         of Public Instruction of the State of
         Idaho and as a member of the Idaho
         State Board of Education;
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 3 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 3 of 58
                               HECOX V. LITTLE                  3


         INDIVIDUAL MEMBERS OF THE
         STATE BOARD OF EDUCATION,
         in their official capacities; BOISE
         STATE UNIVERSITY; MARLENE
         TROMP, in her official capacity as
         President of Boise State University;
         INDEPENDENT SCHOOL
         DISTRICT OF BOISE CITY, # 1;
         COBY DENNIS, in his official
         capacity as superintendent of the
         Independent School District of Boise
         City #1; INDIVIDUAL MEMBERS
         OF THE BOARD OF TRUSTEES OF
         THE INDEPENDENT SCHOOL
         DISTRICT OF BOISE CITY, # 1; in
         their official capacities; INDIVIDUAL
         MEMBERS OF THE IDAHO CODE
         COMMISSION, in their official
         capacities,

                       Defendants,

          and

         MADISON KENYON; MARY
         MARSHALL,

                       Intervenors-Appellants.

                Appeal from the United States District Court
                          for the District of Idaho
                David C. Nye, Chief District Judge, Presiding
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 4 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 4 of 58
         4                          HECOX V. LITTLE


                   Argued and Submitted November 22, 2022
                           San Francisco, California
                        Opinion Filed August 17, 2023
                      Opinion Withdrawn April 29, 2024
                     Amended Opinion Filed June 7, 2024

                                  Filed June 7, 2024

              Before: Kim McLane Wardlaw, Ronald M. Gould, and
                       Morgan Christen, Circuit Judges.*

                            Opinion by Judge Wardlaw


                                    SUMMARY**


                                  Equal Protection

             In an amended opinion, the panel affirmed in part and
         vacated in part the district court’s order preliminarily
         enjoining Idaho’s Fairness in Women’s Sports Act, a
         categorical ban on the participation of transgender women
         and girls in women’s student athletics, and remanded.
             The Act bars all transgender girls and women from
         participating in, or trying out for, public school female sports

         *
           Pursuant to General Order 3.2(h), Judge Christen has been drawn to
         replace Judge Kleinfeld in this matter. Judge Christen has reviewed the
         briefs and the record, and listened to the recording of the oral argument
         in this case.
         **
           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 5 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 5 of 58
                                  HECOX V. LITTLE                        5


         teams at every age, from primary school through college,
         and at every level of competition, from intramural to elite
         teams. It also provides a sex dispute verification process
         whereby any individual can “dispute” the sex of any student
         athlete participating in female athletics in the State of Idaho
         and require her to undergo intrusive medical procedures to
         verify her sex, including gynecological exams. Student
         athletes who participate in male sports are not subject to a
         similar dispute process.
             Applying heightened scrutiny, as set forth in United
         States v. Virginia, 518 U.S. 515, 555 (1996), and Karnoski
         v. Trump, 926 F.3d 1180, 1200–01 (9th Cir. 2019), the panel
         held that the district court did not abuse its discretion when
         it found that the Act likely violates the Equal Protection
         Clause of the Fourteenth Amendment. Because the Act
         subjects only students who wish to participate in female
         athletic competition to an intrusive sex verification process
         and categorically bans all transgender girls and women from
         competing on female women of girls teams and because the
         State of Idaho failed to adduce any evidence demonstrating
         that the Act is substantially related to its asserted interests in
         sex equality and opportunity for women athletes, the panel
         affirmed the district court’s grant of preliminary injunctive
         relief to Lindsay Hecox.
             The panel vacated the injunction as applied to non-
         parties. It found that the scope of the injunction was not clear
         because the order does not specify whether enforcement of
         the Act is enjoined in whole or in part, nor does it specify
         whether enforcement of the Act is enjoined facially or as
         applied to particular persons. The panel instructed the
         district court on remand to consider the effect, if any, of the
         Supreme Court’s decision in Labrador v. Poe, 144 S. Ct. 921
         (2024), before deciding whether it can accord Lindsay
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 6 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 6 of 58
         6                      HECOX V. LITTLE


         Hecox complete relief without enjoining the Act in part or in
         whole as to all female student athletes in Idaho.


                                 COUNSEL

         W. Scott Zanzig (argued), Dayton P. Reed, Timothy
         Longfield, and Brian V. Church, Deputy Attorneys General;
         Lincoln D. Wilson; Steven L. Olsen, Chief of Civil
         Litigation Division; Brian Kane, Assistant Chief Deputy;
         Lawrence G. Wasden, Attorney General; Boise, Idaho, for
         Defendants-Appellants.
         Kristen K. Waggoner, John J. Bursch, and Christiana M.
         Holcomb, Alliance Defending Freedom, Washington, D.C.;
         Bruce D. Skaug and Raul R. Labrador, Skaug Law PC,
         Nampa, Idaho; Roger G. Brooks, Alliance Defending
         Freedom, Scottsdale, Arizona; Christopher P. Schandevel,
         Alliance Defending Freedom, Ashburn, Virginia; Cody S.
         Barnett, Alliance Defending Freedom, Lansdowne,
         Virginia; for Intervenors-Appellants.
         Andrew Barr (argued), Cooley LLP, Broomfield, Colorado;
         Chase Strangio and James D. Esseks, American Civil
         Liberties Union Foundation, New York, New York; Richard
         Eppink and Dina M. Flores-Brewer, American Civil
         Liberties Union of Idaho Foundation, Boise, Idaho;
         Elizabeth Prelogar, Cooley LLP, Washington, D.C.;
         Catherine West, Legal Voice, Seattle, Washington; Kathleen
         R. Hartnett, Cooley LLP, San Francisco, California; Selim
         Aryn Star, Star Law Office PLLC, Hailey, Idaho; for
         Plaintiffs-Appellees.
         Lauren R. Adams, Women’s Liberation Front, Washington,
         D.C., for Amicus Curiae Women’s Liberation Front.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 7 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 7 of 58
                               HECOX V. LITTLE                   7


         James A. Campbell, Solicitor General; David T. Bydalek,
         Chief Deputy Attorney General; Douglas J. Peterson,
         Attorney General of Nebraska; Nebraska Attorney General’s
         Office, Lincoln, Nebraska; for Amici Curiae States of
         Nebraska, Alabama, Alaska, Arkansas, Indiana, Kansas,
         Kentucky, Louisiana, Mississippi, Montana, Oklahoma,
         South Carolina, Texas, and West Virginia.
         Kara Dansky, Women’s Human Rights Campaign – USA,
         Medford, Oregon, for Amicus Curiae Women’s Human
         Rights Campaign – USA.
         Randall L. Wenger, Independence Law Center, Harrisburg,
         Pennsylvania; Gary S. McCaleb, Flagstaff, Arizona; for
         Amici Curiae Medical Professionals.
         Thomas E. Chandler, Matthew J. Donnelly, and Elizabeth
         Hecker, Attorneys; Alexander V. Maugeri, Deputy Assistant
         Attorney General; Eric S. Dreiband, Assistant Attorney
         General; United States Department of Justice, Civil Rights
         Division, Appellate Section, Washington, D.C.; Candice
         Jackson and Farnaz F. Thompson, Deputy General
         Counsels; Reed R. Rubinstein, Principal Deputy General
         Counsel; United States Department of Education, Office of
         the General Counsel, Washington, D.C.; Peter L. Wucetich,
         Assistant United States Attorney; Bart M. Davis, United
         States Attorney; Boise, Idaho; for Amicus Curiae United
         States.
         Edward M. Wenger, Tallahassee, Florida, for Amicus Curiae
         Sandra Bucha, Linda Blade, Vicki Huber-Rudawsky, Inga
         Thompson, Maria Blower, and Rebecca Dussault.
         Chris N. Ryder and Gail Hammer, Lincoln LGBTQ+ Rights
         Clinic, Spokane, Washington, for Amicus Curiae Lincoln
         LGBTQ+ Rights Clinic.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 8 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 8 of 58
         8                    HECOX V. LITTLE


         Jessica L. Ellsworth, Kaitlyn A. Golden, Danielle D.
         Stempel, Nel-Sylvia Guzman, and Ray Li, Hogan Lovells
         US LLP, Washington, D.C.; Fatima G. Graves, Emily
         Martin, Sunu Chandy, Neena Chaudhry, Shiwali Patel, and
         Cassandra Mensah, National Women’s Law Center,
         Washington, D.C.; Jon Greenbaum, David Hinojosa, and
         Bryanna A. Jenkins, Lawyers’ Committee for Civil Rights
         Under Law, Washington, D.C.; for Amici Curiae National
         Women’s Law Center, Lawyers’ Committee for Civil Rights
         Under Law and 60 Additional Organizations.
         Carl S. Charles, Lambda Legal Defense and Education Fund
         Inc., Atlanta, Georgia; Paul D. Castillo, Lambda Legal
         Defense and Education Fund Inc., Dallas, Texas; Diana
         Flynn and Omar Gonzalez-Pagan, Lambda Legal Defense
         and Education Fund Inc., New York, New York; Sasha
         Buchert, Lambda Legal Defense and Education Fund Inc.,
         Washington, D.C.; for Amici Curiae 176 Athletes in
         Women’s Sports, The Women’s Sports Foundation, and
         Athlete Ally.
         Jonah M. Knobler, Patterson Belknap Webb & Tyler LLP,
         New York, New York, for Amicus Curiae interACT:
         Advocates for Intersex Youth.
         Jesse R. Loffler, Cozen O’ Connor, for Amici Curiae
         Transgender Women Athletes.
         Aaron M. Panner, Kellogg Hansen Todd Figel & Frederick
         PLLC, Washington, D.C.; Scott B. Wilkens, Wiley Rein
         LLP, Washington, D.C.; for Amici Curiae American
         Academy of Pediatrics, American Medical Association,
         American Psychiatric Association, and 10 Additional
         Healthcare Organizations.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 9 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 9 of 58
                               HECOX V. LITTLE                   9


         Adam R. Tarosky, Seth D. Levy, and Sarah E. Andre, Nixon
         Peabody LLP, Los Angeles, California, for Amicus Curiae
         Three Former Idaho Attorneys General.
         Matthew D. Benedetto, Thomas F. Costello, William Cutler
         Pickering, Hale and Dorr LLP, Los Angeles, California;
         Adam M. Cambier and Alison Burton, Wilmer Cutler
         Pickering, Hale and Dorr LLP, Boston, Massachusetts; for
         Amici Curiae Teammates, Coaches, and Allies of
         Transgender Athletes.
         Angela R. Vicari, Rosalyn Richter, Arnold & Porter Kaye
         Scholer LLP, New York, New York; Kirk Jenkins, Arnold
         & Porter Kaye Scholer LLP, San Francisco, California; for
         Amici Curiae Altria Group Inc., Amalgamated Bank, Asana
         Inc., Ben and Jerry’s Homemade Inc., Lush Cosmetics LLC,
         Nike Inc., and The Burton Corporation.
         Kaliko‘onalani D. Fernandes, Deputy Solicitor General of
         Counsel; Kimberly T. Guidry, Solicitor General; Clare E.
         Connors, Attorney General of Hawaii; Honolulu, Hawaii;
         Linda Fang, Assistant Solicitor General of Counsel; Anisha
         S. Dasgupta, Deputy Solicitor General; Barbara D.
         Underwood, Solicitor General; Letitia James, Attorney
         General, State of New York; New York, New York; Xavier
         Becerra, California Attorney General, Sacramento,
         California; Philip J. Weiser, Colorado Attorney General,
         Denver, Colorado; William Tong, Connecticut Attorney
         General, Hartford, Connecticut; Kathleen Jennings,
         Delaware Attorney General, Wilmington, Delaware;
         Kwame Raoul, Illinois Attorney General, Chicago, Illinois;
         Aaron M. Frey, Maine Attorney General, August, Maine;
         Brian E. Frosh, Maryland Attorney General, Baltimore,
         Maryland; Maura Healey, Commonwealth of Massachusetts
         Attorney General, Boston, Massachusetts; Keith Ellison,
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 10 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 10 of 58
          10                   HECOX V. LITTLE


          Minnesota Attorney General, St. Paul, Minnesota; Aaron D.
          Ford, Nevada Attorney General, Carson City, Nevada;
          Gurbir S. Grewal, New Jersey Attorney General, Trenton,
          New Jersey; Hector Balderas, New Mexico Attorney
          General, Santa Fe, New Mexico; Joshua E. Stein, North
          Carolina Attorney General, Raleigh, North Carolina; Ellen
          F. Rosenblum, Oregon Attorney General, Salem, Oregon;
          Joshua Shapiro, Commonwealth of Pennsylvania Attorney
          General, Philadelphia, Pennsylvania; Peter F. Neronha,
          Rhode Island Attorney General, Providence, Rhode Island;
          Thomas J. Donovan, Jr., Vermont Attorney General,
          Montpelier, Vermont; Mark R. Herring, Commonwealth of
          Virginia Attorney General, Richmond, Virginia; Robert W.
          Ferguson, Washington Attorney General, Olympia,
          Washington; Karl A. Racine, District of Columbia Attorney
          General, Washington, D.C.; for Amici Curiae States of New
          York, Hawai‘i, California, Colorado, Connecticut,
          Delaware, Illinois, Maine, Maryland, Massachusetts,
          Minnesota, Nevada, New Jersey, New Mexico, North
          Carolina, Oregon, Pennsylvania, Rhode Island, Vermont,
          Virginia, and Washington, and the District of Columbia.
          Susan B. Manning, Morgan Lewis & Bockius LLP,
          Washington, D.C.; for Amici Curiae GLBTQ Legal
          Advocates & Defenders and the National Center for Lesbian
          Rights.
          Abbey J. Hudson, Gibson Dunn & Crutcher LLP, Los
          Angeles, California, for Amicus Curiae The Trevor Project
          Inc..
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 11 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 11 of 58
                                 HECOX V. LITTLE                      11


                                   OPINION

          WARDLAW, Circuit Judge:

              In March 2020, Idaho enacted the Fairness in Women’s
          Sports Act, Idaho Code §§ 33-6201–06 (2020) (the “Act”),
          a first-of-its-kind categorical ban on the participation of
          transgender women and girls in women’s student athletics.
          At the time, Idaho had no history of transgender women and
          girls participating in competitive student athletics, even
          though Idaho’s interscholastic athletics organization allowed
          transgender girls to compete on female athletic teams under
          certain specified conditions. Elite athletic regulatory bodies,
          including the National Collegiate Athletic Association
          (NCAA) and the International Olympic Committee (IOC),
          also had policies allowing transgender women athletes to
          compete if they met certain criteria. The Act, however, bars
          all transgender girls and women from participating in, or
          even trying out for, public school female sports teams at
          every age, from primary school through college, and at every
          level of competition, from intramural to elite teams. See
          Idaho Code § 33-6203(1)–(2). The Act also provides a sex
          dispute verification process whereby any individual can
          “dispute” the sex of any student athlete participating in
          female athletics in the State of Idaho and require her to
          undergo intrusive medical procedures to verify her sex,
          including gynecological exams. See Idaho Code § 33-
          6203(3). Student athletes who participate in male sports are
          not subject to a similar dispute process.
              Today, we decide only the question of whether the
          federal district court for the District of Idaho abused its
          discretion in August 2020 when it preliminarily enjoined the
          Act, holding that it likely violated the Equal Protection
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 12 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 12 of 58
          12                       HECOX V. LITTLE


          Clause of the Fourteenth Amendment. Because the Act
          subjects only students who wish to participate in female
          athletic competitions to an intrusive sex verification process
          and categorically bans transgender girls and women at all
          levels from competing on “female[], women, or girls” teams,
          Idaho Code § 33-6203(2), and because the State of Idaho
          failed to adduce any evidence demonstrating that the Act is
          substantially related to its asserted interests in sex equality
          and opportunity for women athletes, we affirm the district
          court’s grant of preliminary injunctive relief to Lindsay
          Hecox. We remand this case to the district court to
          reconsider the appropriate scope of injunctive relief in light
          of the Supreme Court’s decision in Labrador v. Poe, 144 S.
          Ct. 921 (2024).
          I. FACTUAL AND PROCEDURAL BACKGROUND
                                          A.
              As the district court noted, and as we recognize in this
          context, “such seemingly familiar terms as ‘sex’ and
          ‘gender’ can be misleading.” Hecox v. Little (Hecox I), 479
          F. Supp. 3d 930, 945 (D. Idaho 2020) (quoting Doe ex rel.
          Doe v. Boyertown Area Sch. Dist., 897 F.3d 518, 522 (3d
          Cir. 2018)). We therefore adopt the terminology that has
          been employed throughout this case.
              “Gender identity” is “the term used to describe a
          person’s sense of being male, female, neither, or some
          combination of both.”1 A person’s “sex” is typically
          assigned at birth based on an infant’s external genitalia,
          though “external genitalia” do not always align with other
          sex-related characteristics, which include “internal

          1
           Joshua D. Safer & Vin Tangpricha, Care of Transgender Persons, 381
          N. Eng. J. Med. 2451, 2451 (2019).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 13 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 13 of 58
                                   HECOX V. LITTLE                        13


          reproductive organs, gender identity, chromosomes, and
          secondary sex characteristics.” A “transgender” individual’s
          gender identity does not correspond to their sex assigned at
          birth, while a “cisgender” individual’s gender identity
          corresponds with the sex assigned to them at birth. Around
          two percent of the population are born “intersex,” which is
          an umbrella term for people “born with unique variations in
          certain physiological characteristics associated with sex,
          such as chromosomes, genitals, internal organs like testes or
          ovaries, secondary sex characteristics, or hormone
          production or response.” Id. at 946 (internal quotation marks
          omitted).
              Over 1.6 million adults and youth identify as transgender
          in the United States, or roughly 0.6 percent of Americans
          who are 13 years old or older.2 Youth ages 13 to 17 are
          significantly more likely to identify as transgender, with the
          Centers for Disease Control (CDC) estimating that roughly
          1.8 percent of high school students identify as transgender.
          See Br. of Amici Curiae Am. Acad. of Pediatrics, et al.
          (“AAP Br.”) at 10.
              Transgender individuals often experience “gender
          dysphoria,” which is defined by the Fifth Edition, Text
          Revision, of the Diagnostic and Statistics Manual of Mental
          Disorders (DSM-5-TR) as a condition where patients
          experience “[a] marked incongruence between one’s
          experienced/expressed gender and assigned gender, of at
          least 6 months’ duration” that “is associated with clinically
          significant distress or impairment in social, occupation, or


          2
           See Jody L. Herman, Andrew R. Flores, Kathryn K. O’Neill, How Many
          Adults and Youth Identify as Transgender in the United States?,
          Williams Inst. 1 (2022).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 14 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 14 of 58
          14                         HECOX V. LITTLE


          other important areas of functioning.”3 For over thirty years,
          medical professionals have treated individuals experiencing
          gender dysphoria following the protocols laid out in the
          Standards of Care for the Health of Transsexual,
          Transgender, and Gender Nonconforming People (Version
          7), which were developed by the World Professional
          Association for Transgender Health (WPATH). AAP Br. at
          19.
                                               B.
              On March 16, 2020, Idaho passed House Bill 500 (“H.B.
          500”), a categorical ban against transgender women and
          girls’ participation in any public-school funded women’s
          sports, enforced by subjecting all participants in female
          athletics to an intrusive sex verification process if their
          gender is disputed by anyone. See H.R. 500, 65th Leg., 2d
          Reg. Sess. (Idaho 2020). Although Idaho was the first state
          in the nation to issue such a ban, more than twenty other
          states have enacted similar—though perhaps not as
          potentially intrusive against all female athletes—restrictions
          on female transgender athletes.4

          3
           See Am. Psychiatric Ass’n, Diagnostic and Statistics Manual of Mental
          Disorders 512–13 (5th ed., text rev. 2022).
          4
            Since the Act’s passage, twenty-four other states have passed laws or
          regulations limiting the participation of transgender students in women’s
          athletics. However, no other state appears to have enacted an
          enforcement mechanism for those restrictions like the sex dispute
          verification process in the Act. See Ala. Code § 16-1-52 (2021); 4
          Alaska Admin. Code § 06.115(b)(5)(D); Ariz. Rev. Stat. Ann. § 15-
          120.02 (2022); Ark. Code Ann. § 6-1-107 (West 2021); Fla. Stat. Ann.
          § 1006.205 (West 2021); Ind. Code Ann. § 20-33-13-4 (West 2022);
          Iowa Code Ann. § 261I.2 (West 2022); H.B. 2238, 2023 Leg. Sess. (Kan.
          2023); Ky. Rev. Stat. Ann. § 164.2813 (West 2022); La. Stat. Ann.
          § 4:442 (2022); Miss. Code Ann. § 37-97-1 (West 2021); Mo. Rev. Stat.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 15 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 15 of 58
                                     HECOX V. LITTLE                           15


              In the United States, high school interscholastic athletics
          are generally governed by state interscholastic athletic
          associations, such as the Idaho High School Activities
          Association (IHSAA). The NCAA sets policies for member
          colleges and universities in Idaho and elsewhere, including
          Boise State University (BSU). Prior to the Act’s passage,
          IHSAA policy allowed transgender girls in 9–12 athletics in
          Idaho to compete on girls’ teams after they had completed
          one year of hormone therapy suppressing testosterone under
          the care of a physician. At that time, NCAA policy similarly
          allowed transgender women attending member colleges and
          universities in Idaho (and elsewhere) to compete on
          women’s teams after one year of hormone therapy to
          suppress testosterone.5 Idaho itself had no record of
          transgender women and girls participating in competitive
          women’s sports.
              On February 13, 2020, Representative Barbara Ehardt
          introduced H.B. 500 in the Idaho House of Representatives.

          163.048 (2023); Mont. Code Ann. § 20-7-1306 (West 2021); H. 574 (N.
          C. 2023); Legis. Assemb. 1489, 68th Legis. Assemb., Reg. Sess. (N.D.
          2023); Legis. Assemb. 1249, 68th Legis. Assemb., Reg. Sess. (N.D.
          2023); Ohio Rev. Code § 3313.5320; Okla. Stat. Ann. tit. 70, § 27-106
          (West 2022); S.C. Code Ann. § 59-1-500 (2022); S.D. Codified Laws
          § 13-67-1 (2022); Tenn. Code Ann. § 49-7-180 (2022); Tex. Educ. Code
          Ann. § 33.0834 (West 2022); Utah Code Ann. § 53g-6-902 (West 2022);
          W. Va. Code Ann. § 18-2-25d (West 2021); S. 92, 67th Leg., Gen. Sess.
          (Wyo. 2023).
          5
            In April 2023, the NCAA updated its policy to require that transgender
          student-athletes meet the “sport-specific standard[s] (which may include
          testosterone levels, mitigation timelines and other aspects of sport-
          governing body policies)” of the national governing body of that sport.
          See Press Release, NCAA, Transgender Student-Athlete Participation
          Policy (April 17, 2023), https://www.ncaa.org/sports/2022/1/27/
          transgender-participation-policy.aspx (last visited May 3, 2024).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 16 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 16 of 58
          16                     HECOX V. LITTLE


          At the first hearing on the bill, Ty Jones, Executive Director
          of the IHSAA, testified that no student in Idaho had ever
          complained about participation in public school sports by
          transgender athletes, and that no transgender athlete had ever
          competed in Idaho under the existing IHSAA policy.
          Representative Ehardt acknowledged that she had no
          evidence that any person in Idaho had ever disputed an
          athlete’s eligibility to play based on that athlete’s gender.
              After the Idaho House Committee approved the bill,
          Idaho Attorney General Lawrence Wasden warned in a
          written opinion letter to the House that H.B. 500 raised
          serious constitutional questions due to the legislation’s
          disparate treatment of transgender and intersex athletes and
          the potential invasion of all female athletes’ privacy inherent
          in the sex dispute verification process. Nevertheless, the bill
          proceeded to a debate and passed on the House floor on
          February 26, 2020.
              After passage by the House, H.B. 500 was heard by the
          Senate State Affairs Committee and sent to the full Idaho
          Senate on March 10, 2020. On March 11, 2020, the World
          Health Organization declared COVID-19 a pandemic and
          many states adjourned legislative sessions indefinitely. The
          Idaho Senate remained in session, however, and passed H.B.
          500 as amended on March 16, 2020. The House concurred
          in the Senate amendments on March 18, and the bill was
          delivered to Idaho Governor Bradley Little on March 19,
          2020.
              As Governor Little considered the bill, critics questioned
          the legislation’s findings and legality. Professor Dorianne
          Lambelet Coleman, whose work on testosterone and
          athletics was cited in the legislative findings in support of
          the bill, wrote to Governor Little urging him to veto the bill
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 17 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 17 of 58
                                   HECOX V. LITTLE                       17


          and explaining that her research had been misinterpreted and
          misused in the legislative findings. Similarly, five former
          Idaho Attorneys General implored Governor Little to veto
          the Act, labeling it a “legally infirm statute.”6 Nonetheless,
          Governor Little signed H.B. 500 into law on March 30, 2020,
          and it went into effect on July 1, 2020.
                                         C.
              In enacting H.B. 500, the legislature made several
          findings based on Professor Coleman’s study, including
          “that there are ‘inherent [biological] differences between
          men and women,’” Idaho Code § 33-6202(1) (quoting
          United States v. Virginia (VMI), 518 U.S. 515, 533 (1996)),
          and that men have “higher natural levels of testosterone,” id.
          § 33-6202(4), which “have lifelong effects, including those
          most important for success in sport,” id. § 33-6202(5).
          Relying on Professor Coleman’s work, the legislature found
          that “[t]he benefit[] that natural testosterone provides to male
          athletes is not diminished through the use of puberty
          blockers and cross-sex hormones.” Id. § 33-6202(11). The
          legislature also found that “women’s performances at the
          high[est] level [of athletics] will never match those of men.”
          Id. § 33-6202(9) (quoting Valerie Thibault et al., Women and
          Men in Sport Performance: The Gender Gap Has Not
          Evolved Since 1983, 9 J. of Sports Sci. & Med. 214, 219
          (2010)). The legislature concluded that “[h]aving separate
          sex-specific teams furthers efforts to promote sex equality”
          by “providing opportunities for female athletes to

          6
            See also Tony Park et al., 5 Former Idaho Attorneys General Urge
          Transgender Bill Veto, Idaho Statesman (Mar. 17, 2020),
          https://www.idahostatesman.com/opinion/readers-
          opinion/article241267071.html (last visited May 23, 2023).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 18 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 18 of 58
          18                      HECOX V. LITTLE


          demonstrate their skill, strength, and athletic abilities, while
          also providing them with opportunities to obtain recognition
          and accolades, college scholarships, and numerous other
          long-term benefits that flow from success in athletic
          endeavors.” Id. § 33-6202(12).
              Three provisions of the Act are most salient to this
          appeal. First, the Act provides that “[i]nterscholastic,
          intercollegiate, intramural, or club athletic teams or sports”
          shall be organized “based on biological sex.” Id. § 33-
          6203(1). It specifically provides that:

                 Interscholastic, intercollegiate, intramural, or
                 club athletic teams or sports that are
                 sponsored by a public primary or secondary
                 school, a public institution of higher
                 education, or any school or institution whose
                 students or teams compete against a public
                 school or institution of higher education shall
                 be expressly designated as one (1) of the
                 following based on biological sex:
                     (a) Males, men, or boys;
                     (b) Females, women, or girls; or
                     (c) Coed or mixed.

          Id. The Act then provides that “[a]thletic teams or sports
          designated for females, women, or girls shall not be open to
          students of the male sex.” Id. § 33-6203(2) (the “categorical
          ban provision”). The Act’s provisions apply to all levels of
          competition in Idaho state schools, including elementary
          school and club teams, and do not include any limitation for
          transgender individuals who wish to participate on athletic
          teams designated for men. Moreover, the provisions apply
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 19 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 19 of 58
                                 HECOX V. LITTLE                     19


          not only to public schools, but also to nonpublic “school[s]
          or institution[s] whose students or teams compete against a
          public school or institution of higher education.” Id. § 33-
          6203(1).
              Second, the Act creates a “sex verification” process to be
          invoked by any individual who wishes to “dispute” a
          student’s sex, providing that:

                 A dispute regarding a student’s sex shall be
                 resolved by the school or institution by
                 requesting that the student provide a health
                 examination and consent form or other
                 statement signed by the student’s personal
                 health care provider that shall verify the
                 student’s biological sex. The health care
                 provider may verify the student’s biological
                 sex as part of a routine sports physical
                 examination relying only on one (1) or more
                 of the following: the student’s reproductive
                 anatomy, genetic makeup, or normal
                 endogenously produced testosterone levels.

          Id. § 33-6203(3) (the “sex dispute verification provision”).
              And third, the Act creates an enforcement mechanism to
          ensure compliance with its provisions by establishing a
          private cause of action for any student who is “deprived of
          an athletic opportunity or suffers any direct or indirect harm
          as a result of a violation of [the Act].” Id. § 33-6205(1).
                                       D.
              On April 15, 2020, Lindsay Hecox (“Lindsay”), a
          transgender woman who wishes to try out for the BSU
          women’s track and cross-country teams, and Jane Doe
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 20 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 20 of 58
          20                     HECOX V. LITTLE


          (“Jane”), a cisgender woman who plays on high school
          varsity teams and feared that her sex would be “disputed”
          under the Act due to her masculine presentation, filed this
          lawsuit against Governor Little, Idaho Superintendent of
          Public Instruction Sherri Ybarra, and various school officials
          at both the high school and collegiate levels (collectively,
          “Idaho”). They sought a declaratory judgment that the Act
          violates Title IX and the United States Constitution,
          including the Equal Protection Clause, and preliminary and
          permanent injunctions against the Act’s enforcement, as well
          as an award of costs, expenses, and reasonable attorneys’
          fees.
              On May 26, 2020, Madison (“Madi”) Kenyon and Mary
          (“MK”) Marshall (collectively, “the Intervenors”) were
          permitted to intervene in this case. Intervenors are cisgender
          women residing in Idaho and collegiate athletes who run
          track and cross-country on scholarship at Idaho State
          University. In 2019, both athletes competed against and lost
          to June Eastwood, a transgender woman athlete at the
          University of Montana, and found it a “discouraging” and
          “deflating” experience.
              On April 30, 2020, Plaintiffs moved for preliminary
          injunctive relief based solely on their equal protection
          claims. The district court issued preliminary injunctive
          relief in August 2020, ruling that both Plaintiffs were likely
          to succeed on the merits of their equal protection claims and
          would suffer irreparable harm if the injunction was not
          granted, and that the balance of equities weighed in favor of
          an injunction. Idaho and the Intervenors (collectively, the
          “Appellants”) timely appealed.
             We first held oral argument in this appeal on May 3,
          2021. At that time, Lindsay informed the court that she had
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 21 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 21 of 58
                                     HECOX V. LITTLE                           21


          tried out for and failed to make the women’s track team and
          that she subsequently withdrew from BSU classes in late
          October 2020. Because the parties’ arguments raised several
          unanswered factual questions as to whether Lindsay’s claim
          was moot, we remanded the case to the district court for
          further factual development and findings on justiciability
          questions on June 24, 2021.
              On July 18, 2022, the district court issued factual
          findings and concluded that Lindsay’s claim was not moot.
          We affirmed the district court’s determination that Lindsay’s
          claim was not moot in an order issued on January 30, 2023.
          See Hecox v. Little (Hecox II), No. 20-35813, 2023 WL
          1097255, at *1 (9th Cir. Jan. 30, 2023).7 We then asked the
          parties to brief us on which claims remained for decision in
          this appeal and any intervening authority. The parties agree
          that the only issue that we must decide is whether the district
          court abused its discretion in issuing the preliminary
          injunction.
                          II. STANDARD OF REVIEW
              We review a district court’s grant of a preliminary
          injunction for an abuse of discretion. Puente Arizona v.
          Arpaio, 821 F.3d 1098, 1103 (9th Cir. 2016). That said,

          7
            In our January 2023 order, we determined that Lindsay’s claim was not
          moot when she withdrew from BSU in October 2020, because she
          expressed a concrete plan to re-enroll and try out for BSU sports teams.
          Hecox II, 2023 WL 1097255, at *1. Lindsay followed through on those
          plans by re-enrolling at BSU after she established Idaho state residency
          and training to participate in women’s sports teams. Id. Indeed, Lindsay
          planned to try out again for the BSU women’s cross-country and track
          teams in Fall 2023, and has been playing for the BSU women’s club
          soccer team since Fall 2022. Id., at *2. Absent the preliminary
          injunction against the Act’s enforcement, Lindsay would be banned from
          participating on the BSU women’s club soccer team. Id.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 22 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 22 of 58
          22                      HECOX V. LITTLE


          “legal issues underlying the injunction are reviewed de novo
          because a district court would necessarily abuse its
          discretion if it based its ruling on an erroneous view of law.”
          adidas Am., Inc. v. Skechers USA, Inc., 890 F.3d 747, 753
          (9th Cir. 2018) (quoting GoTo.com, Inc. v. Walt Disney Co.,
          202 F.3d 1199, 1204 (9th Cir. 2000)); see also Sw. Voter
          Registration Educ. Project v. Shelley, 344 F.3d 914, 918 (9th
          Cir. 2003). We do “not ‘determine the ultimate merits’” of
          the case, “but rather ‘determine only whether the district
          court correctly distilled the applicable rules of law and
          exercised permissible discretion in applying those rules to
          the facts at hand.’” Saravia for A.H. v. Sessions, 905 F.3d
          1137, 1141–42 (9th Cir. 2018) (quoting Fyock v. Sunnyvale,
          779 F.3d 991, 995 (9th Cir. 2015)). However, we will
          reverse a grant of the preliminary injunction if the district
          court “based its decision . . . on clearly erroneous findings of
          fact.” Does 1-5 v. Chandler, 83 F.3d 1150, 1552 (9th Cir.
          1996).
              We review the scope of a preliminary injunction for an
          abuse of discretion. California v. Azar, 911 F.3d 558, 567
          (9th Cir. 2018).
                     III. PRELIMINARY INJUNCTION
              “A preliminary injunction is ‘an extraordinary and
          drastic remedy, one that should not be granted unless the
          movant, by a clear showing, carries the burden of
          persuasion.’” Lopez v. Brewer, 680 F.3d 1068, 1072 (9th
          Cir. 2012) (quoting Mazurek v. Armstrong, 520 U.S. 968,
          972 (1997)). “A plaintiff seeking a preliminary injunction
          must establish that he is likely to succeed on the merits, that
          he is likely to suffer irreparable harm in the absence of
          preliminary relief, that the balance of equities tips in his
          favor, and that an injunction is in the public interest.” Winter
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 23 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 23 of 58
                                  HECOX V. LITTLE                      23


          v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The
          last two factors “merge when the Government is the
          opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).
                    A. Likelihood of Success on the Merits
              The primary issue presented by this appeal is whether the
          district court abused its discretion in concluding that Lindsay
          was likely to succeed on the merits of her equal protection
          challenge. The Fourteenth Amendment provides that “[n]o
          State shall . . . deny to any person within its jurisdiction the
          equal protection of the laws.” U.S. Const. amend. XIV, § 1.
          In other words, “all persons similarly situated should be
          treated alike.” City of Cleburne v. Cleburne Living Ctr., 473
          U.S. 432, 439 (1985). The state may not discriminate against
          classes of people in an “arbitrary or irrational” way or with
          the “bare . . . desire to harm a politically unpopular group.”
          Id. at 446–47.
              When considering an equal protection claim, we
          determine what level of scrutiny applies to a classification
          under a law or policy, and then decide whether the policy at
          issue survives that level of scrutiny. Our “general rule is that
          legislation is presumed to be valid and will be sustained if
          the classification drawn by the statute is rationally related to
          a legitimate state interest,” id. at 440, otherwise known as
          rational basis review. However, as gender classifications
          “generally provide[] no sensible ground for differential
          treatment,” id., “‘all gender-based classifications today’
          warrant ‘heightened scrutiny.’” VMI, 518 U.S. at 555
          (quoting J.E.B. v. Alabama ex rel. T.B., 511 U.S. 127, 136
          (1994)). Under heightened scrutiny, “a party seeking to
          uphold government action based on sex must establish an
          ‘exceedingly persuasive justification’ for the classification.”
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 24 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 24 of 58
          24                     HECOX V. LITTLE


          Id. at 524 (quoting Mississippi Univ. for Women v. Hogan,
          458 U.S. 718, 724 (1982)).
                        1. Heightened scrutiny applies.
              The district court did not err in concluding that
          heightened scrutiny applies because the Act discriminates
          against transgender women by categorically excluding them
          from female sports, as well as on the basis of sex by
          subjecting all participants in female athletics, but no
          participants in male athletics, to invasive sex verification
          procedures to implement that policy. Appellants contend
          that the Act classifies based only on sex, not “transgender
          status,” and permissibly excludes “biological males” from
          female sports under our precedent. See, e.g., Clark ex rel.
          Clark v. Arizona Interscholastic Ass’n (Clark I), 695 F.2d
          1126, 1131–32 (9th Cir. 1982) (holding that excluding boys
          from a girls’ high school volleyball team was permissible to
          redress past discrimination against women athletes and to
          promote equal opportunity for women). We conclude that
          while the Act certainly classifies on the basis of sex, it also
          classifies based on transgender status, triggering heightened
          scrutiny on both grounds.
          a. The Act discriminates based on transgender status.
              Appellants argue that the Act does not discriminate
          based on transgender status because “[t]he distinction and
          statutory classification is based entirely on [biological] sex,
          not gender identity.” They assert that the Act’s definition of
          “biological sex” describes only the “physiological
          differences between the sexes relevant to athletics.” But the
          Act explicitly references transgender women, as did its
          legislative proponents, and its text, structure, findings, and
          effect all demonstrate that the purpose of the Act was to
          categorically ban transgender women and girls from public
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 25 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 25 of 58
                                  HECOX V. LITTLE                      25


          school sports teams that correspond with their gender
          identity.
              A discriminatory purpose is shown when “the
          decisionmaker, in this case a state legislature, selected or
          reaffirmed a particular course of action at least in part
          ‘because of,’ not merely ‘in spite of,’ its adverse effects upon
          an identifiable group.” Pers. Adm’r of Massachusetts v.
          Feeney, 442 U.S. 256, 279 (1979). Here, the district court
          found that “the law is directed at excluding women and girls
          who are transgender, rather than on promoting sex equality
          and opportunities for women.” Hecox I, 479 F. Supp. 3d at
          983. This finding is not clearly erroneous.
              Section 33-6202 straightforwardly sets forth the
          “legislative findings and purpose” of the Act, and makes
          clear that its animating purpose was to ban transgender
          women from “biologically female” teams. These findings
          explicitly discuss transgender women athletes by stating that
          “a man [sic] who identifies as a woman and is taking cross-
          sex hormones ‘ha[s] an absolute advantage’ over female
          athletes,” and noting that “[t]he benefit[] that natural
          testosterone provides to male athletes is not diminished
          through the use of puberty blockers and cross-sex
          hormones.” Idaho Code § 33-6202(11).
              During the legislative debate on H.B. 500, the Act’s
          supporters stated repeatedly that the Act’s purpose was to
          ban transgender women athletes from participating on
          female athletic teams in Idaho. Representative Ehardt, who
          introduced the bill, characterized the law as a “preemptive”
          strike that would allow Idaho to “remove [transgender
          women] and replace them with the young gal that should
          have been on the team.” Representative Ehardt reiterated
          that the Act would require transgender women to “compete
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 26 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 26 of 58
          26                        HECOX V. LITTLE


          on the side of those biological boys and men with whom they
          look or, about whom they look alike.” Much of the
          legislative debate centered around two transgender women
          athletes running track in Connecticut high schools, as well
          as one running college track in Montana, and the potential
          “threat” those athletes presented to female athletes in Idaho.
          When Idaho’s then-Attorney General Wasden expressed
          concerns about the Act’s constitutionality, he expressly
          described it as “targeted toward transgender and intersex
          athletes.”
              The plain language of section 33-6203 bans transgender
          women from “biologically female” teams. The Act divides
          sports teams into three categories based on biological sex:
          “(a) Males, men, or boys; (b) Females, women, or girls; or
          (c) Coed or mixed.” Id. § 33-6203(1). Sports designated for
          “females, women, or girls” are not open to students of the
          male sex. Id. § 33-6203(2). And the methods for
          “verify[ing] the student’s biological sex” are restricted to
          “reproductive anatomy, genetic makeup, or normal
          endogenously produced testosterone levels.” Id. § 33-
          6203(3). However, most gender-affirming medical care for
          transgender females, especially minors, will not or cannot
          alter the characteristics described in the only three
          verification methods prescribed by the Act, thus effectively
          banning transgender females from female sports.8 As the
          district court determined, “the overwhelming majority of
          women who are transgender have XY chromosomes,” which
          indicate the male sex, and transgender women cannot change

          8
            In 2023, Idaho adopted legislation prohibiting minors from receiving
          gender-affirming medical care. See Idaho Code § 18-1506C, enjoined by
          Poe ex rel. Poe v. Labrador, 2023 WL 8935065, at *2 (D. Idaho Dec.
          26, 2023), injunction modified in part sub nom. by Labrador v. Poe ex
          rel. Poe, 144 S. Ct. 921 (2024).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 27 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 27 of 58
                                    HECOX V. LITTLE                           27


          that genetic makeup when they transition. Hecox I, 479 F.
          Supp. 3d at 984. Similarly, as medical expert Dr. Deanna
          Adkins opined, many transgender women and girls do not
          undergo gender-affirming genital surgery to alter their
          external “reproductive anatomy,” often because they cannot
          afford it or it is inappropriate for their individual needs.
              Further, because surgery cannot change transgender
          women’s internal reproductive anatomy by creating ovaries,
          Dr. Adkins testified that transgender women “typically
          continue to need estrogen therapy” even after surgery and
          can never alter their “endogenously produced”—or naturally
          produced—testosterone levels. By contrast, the Act does not
          allow sex to be verified by a transgender woman’s levels of
          circulating testosterone, which can be altered through
          medical treatment. A transgender woman like Lindsay, for
          example, can lower her circulating testosterone levels
          through hormone therapy to conform to elite athletic
          regulatory guidelines, but cannot currently alter the
          endogenous testosterone that her body naturally produces.
          Yet the district court found and the record before it supports
          that circulating testosterone is the “one [sex-related] factor
          that a consensus of the medical community appears to agree”
          actually affects athletic performance. Id.
              Appellants suggest that “biological sex” is a neutral and
          well-established medical and legal concept, rather than one
          designed precisely by the Idaho legislature to exclude
          transgender and intersex people.9 But the Act’s definition of

          9
            In supplemental briefing, Appellants also argue that the Supreme
          Court’s recent decisions in Dobbs v. Jackson Women’s Health
          Organization, 597 U.S. 215 (2022), and New York State Rifle & Pistol
          Ass’n v. Bruen, 597 U.S. 1 (2022), “are fatal to Hecox’s claim” because
          the ratifiers of the Fourteenth Amendment would have understood
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 28 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 28 of 58
          28                           HECOX V. LITTLE




          “male” to correspond to the definition of “biological male” written into
          the Act. We fail to see how Dobbs, a substantive due process decision
          about whether the federal Constitution protects a woman’s right to obtain
          an abortion, and Bruen, a Second Amendment decision about gun rights,
          are relevant to an equal protection claim based on sex discrimination,
          unless Appellants are suggesting that the Framers would have
          understood the term “biological sex” by reference to reproductive
          anatomy, genetic makeup, or normal endogenously produced
          testosterone levels. Indeed, the ratifiers of the Fourteenth Amendment
          would certainly not have understood the Act’s definition of “biological
          sex.” For example, the drafters of the Fourteenth Amendment would
          have had no concept of what “endogenously produced testosterone
          levels” meant in 1868, because testosterone was not named and isolated
          as a hormone until 1935. See John M. Tomlinson, The Testosterone
          Story, Trends in Urology & Men’s Health 34, 35 (2012). Similarly, the
          ratifiers would not have understood how “genetic makeup” influences
          sex, as chromosomes were first discovered by Walther Flemming in
          1882. D.W. Rudge, The Man Who Invented the Chromosome, 97
          Heredity 136, 136 (2006) (reviewing Oren Harman, The Man Who
          Invented the Chromosome: A Life of Cyril Darlington (2004)).
               Moreover, there is evidence that transgender people have existed
          since ancient times. See generally Lauren Talalay, The Gendered Sea:
          Iconography, Gender, and Mediterranean Prehistory, in THE
          ARCHEOLOGY OF MEDITERRANEAN PREHISTORY 130–33 (Emma Blake
          & A. Bernard Knapp eds., 2005). Appellants appear to argue that
          because transgender people were marginalized in 1868, they should be
          afforded no constitutional protections on the basis of their transgender
          status. But this argument would undermine decades of Supreme Court
          precedent striking down laws that discriminate on the basis of sex. See
          Reed v. Reed, 404 U.S. 71, 76 (1971) (holding that an Idaho statute that
          preferenced men as administrators of estates “ma[d]e the very kind of
          arbitrary legislative choice forbidden by the Equal Protection Clause of
          the Fourteenth Amendment”); Frontiero v. Richardson, 411 U.S. 677,
          687 (1973) (“[S]tatutory distinctions between the sexes often have the
          effect of invidiously relegating the entire class of females to inferior legal
          status without regard to the actual capabilities of its individual
          members.”); see also Weinberger v. Weisenfeld, 420 U.S. 636, 645
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 29 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 29 of 58
                                   HECOX V. LITTLE                         29


          “biological sex” is likely an oversimplification of the
          complicated biological reality of sex and gender. As Dr.
          Joshua Safer, Executive Director of the Center for
          Transgender Medicine and Surgery at Mount Sinai,
          explained in his declaration, citing the Endocrine Society
          Guidelines:

                  The phrase “biological sex” is an imprecise
                  term that can cause confusion. A person’s
                  sex encompasses the sum of several
                  biological     attributes,   including     sex
                  chromosomes, certain genes, gonads, sex
                  hormone levels, internal and external
                  genitalia, other secondary sex characteristics,
                  and gender identity. These attributes are not
                  always aligned in the same direction.

          Indeed, two percent of all babies are born “intersex,” or with
          “a wide range of natural variations in physical traits—
          including external genitals, internal sex organs,
          chromosomes, and hormones—that do not fit typical binary
          notions of male and female bodies.” Br. of Amici Curiae
          InterACT at 3–4. Intersex people who identify as women
          are equally banned under the Act from playing on Idaho
          women’s teams. And while scientists are not fully certain
          why some people identify as transgender, it appears likely
          that there is some biological explanation—such as
          gestational exposure to elevated levels of testosterone—that
          causes certain individuals to identify as a different gender
          than the one assigned to them at birth. See AAP Br. at 14.


          (1975); Craig v. Boren, 429 U.S. 190, 210 (1976); Duren v. Missouri,
          439 U.S. 357, 360 (1979); VMI, 518 U.S. at 519.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 30 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 30 of 58
          30                      HECOX V. LITTLE


               Finally, the Act’s discriminatory purpose is further
          evidenced by the Act’s prohibition of “biological males”
          from female-designated teams because that prohibition
          affects one group of athletes only—transgender women. See
          Crawford v. Board of Education, 458 U.S. 527, 544 (1982)
          (explaining that the “disproportionate effect of official
          action provides an important starting point” for determining
          whether a “[discriminatory] purpose was [its] motivating
          factor” (internal quotation marks omitted)). Before the Act’s
          passage, both the IHSAA and the NCAA prohibited
          cisgender men and boys from participating on female-
          designated sports teams. Both associations also had policies
          that allowed transgender women and girls to participate on
          female athletic teams after completing one year of hormone
          therapy to suppress testosterone levels. Giving effect to the
          Act still prohibits men and boys from participating on female
          athletic teams. But all transgender girls and women, even
          those who were previously eligible consistent with the
          IHSAA and NCAA policies, are now barred from female
          athletics. The Act’s only contribution to Idaho’s student-
          athletic landscape is to entirely exclude transgender women
          and girls from participating on female sports teams. And
          where a statute’s “undisputed purpose [] and only effect . . .
          is to exclude transgender girls . . . from participation on girls
          sports teams,” that statute discriminates on the basis of
          transgender status. B.P.J. ex rel. Jackson v. W. Va. State Bd.
          of Educ., 98 F.4th 542, 556 (4th Cir. 2024).
              In addition to having a discriminatory purpose and
          effect, the Act is also facially discriminatory against
          transgender female athletes. We have previously rejected an
          argument like that Appellants raise here—that because
          section 33-6203 uses “biological sex” in place of the word
          “transgender,” it is not targeted at excluding transgender
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 31 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 31 of 58
                                 HECOX V. LITTLE                    31


          girls and women. In Latta v. Otter, 771 F.3d 456 (9th Cir.
          2014), we held that Idaho and Nevada laws that banned
          same-sex marriage facially discriminated on the basis of
          sexual orientation, even though the laws did so by
          classifying couples based on “procreative capacity” instead
          of sexual orientation. Id. at 467–68. We explained:

                 Effectively if not explicitly, [defendants]
                 assert that while these laws may disadvantage
                 same-sex couples and their children,
                 heightened scrutiny is not appropriate
                 because differential treatment by sexual
                 orientation is an incidental effect of, but not
                 the reason for, those laws. However, the laws
                 at issue distinguish on their face between
                 opposite-sex couples, who are permitted to
                 marry and whose out-of-state marriages are
                 recognized, and same-sex couples, who are
                 not permitted to marry and whose marriages
                 are not recognized.            Whether facial
                 discrimination exists “does not depend on
                 why” a policy discriminates, “but rather on
                 the explicit terms of the discrimination.”
                 Hence, while the procreative capacity
                 distinction that defendants seek to draw could
                 represent a justification for the discrimination
                 worked by the laws, it cannot overcome the
                 inescapable conclusion that Idaho and
                 Nevada do discriminate on the basis of sexual
                 orientation.

          Id. at 467–68 (quoting Int’l Union, United Auto., Aerospace
          & Agr. Implement Workers of Am., UAW v. Johnson
          Controls, Inc., 499 U.S. 187, 199 (1991)). Here, the Act’s
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 32 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 32 of 58
          32                     HECOX V. LITTLE


          use of “biological sex” functions as a form of “[p]roxy
          discrimination.” Pac. Shores Props., LLC v. City of Newport
          Beach, 730 F.3d 1142, 1160 n.23 (9th Cir. 2013). The
          definition of “biological sex” in the Act is written with
          “seemingly neutral criteria that are so closely associated with
          the disfavored group that discrimination on the basis of such
          criteria is, constructively, facial discrimination against the
          disfavored group.” Id.; see also Lawrence v. Texas, 539 U.S.
          558, 575 (2003) (“When homosexual conduct is made
          criminal by the law of the State, that declaration in and of
          itself is an invitation to subject homosexual persons to
          discrimination . . . .”). The Act’s specific classification of
          “biological sex” has similarly been carefully drawn to target
          transgender women and girls, even if it does not use the word
          “transgender” in the definition.
              Adams ex rel. Kasper v. School Board of St. Johns
          County, 57 F.4th 791 (11th Cir. 2022) (en banc), upon which
          Appellants rely to support their argument that the Act does
          not discriminate against transgender girls or women, is
          inapposite. There, the Eleventh Circuit upheld a lower court
          order rejecting an equal protection challenge to a K-12
          school policy that provided female, male, and sex-neutral
          bathrooms and required male students to use the male-
          designated bathrooms, required female students to use the
          female bathrooms, and accommodated transgender students
          with the sex-neutral bathrooms. See id. at 797. The policy
          defined “male” and “female” as the gender identified on a
          student’s birth certificate. See id. The Eleventh Circuit
          rejected the argument that the policy unconstitutionally
          discriminated on the basis of transgender status because it
          was “substantially related” to the school district’s important
          interest in securing its pupils’ privacy and welfare and was
          not targeted at transgender students—at most, it had a
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 33 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 33 of 58
                                    HECOX V. LITTLE                         33


          disparate impact upon them which did not rise to the level of
          a constitutional violation because no animus was shown. See
          id. at 811. Importantly, in Adams—as opposed to here—
          there was “no [record] evidence suggesting that the School
          Board enacted the [] policy because of . . . its adverse effects
          upon transgender students.” Id. at 810 (second alteration in
          original) (internal quotation marks omitted). To the
          contrary, the school district in Adams had studied the issues
          raised by the LGBTQ community and had also enacted
          policies that affirmatively accommodated transgender
          students.10
              Appellants likewise misrely on a footnote in Geduldig v.
          Aiello, 417 U.S. 484 (1974), for the proposition that a
          legislative classification based on biological sex is not a
          classification based on transgender status. See id. at 496
          n.20. In Geduldig, the Supreme Court stated that a
          classification based on pregnancy is not per se a
          classification based on sex, even though “it is true that only
          women can become pregnant.” Id. However, the Court held
          that “distinctions involving pregnancy” that are “mere
          pretexts designed to effect an invidious discrimination” are
          subject to heightened scrutiny. Id. Here, it appears that the
          definition of “biological sex” was designed precisely as a
          pretext to exclude transgender women from women’s
          athletics—a classification that Geduldig prohibits.
              Finally, Appellants contend that the Act does not
          discriminate based on transgender status because the “Act
          does not prohibit biologically female athletes who identify
          as male from competing on male sports teams consistent
          with their gender identity.” But a law is not immune to an

          10
           Although Adams is plainly distinguishable, we express no view on the
          merits of the decision.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 34 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 34 of 58
          34                     HECOX V. LITTLE


          equal protection challenge if it discriminates only against
          some members of a protected class but not others. See, e.g.,
          Rice v. Cayetano, 528 U.S. 495, 516–17 (2000) (“Simply
          because a class . . . does not include all members of [a] race
          does not suffice to make the classification race neutral.”);
          Nyquist v. Mauclet, 432 U.S. 1, 7–9 (1977) (holding that
          singling out some but not all undocumented immigrants for
          discrimination constituted a “classification based on
          alienage”); Mathews v. Lucas, 427 U.S. 495, 504 n.11 (1976)
          (“That the statutory classifications challenged here
          discriminate among illegitimate children does not mean, of
          course, that they are not also properly described as
          discriminating between legitimate and illegitimate
          children.”).
          b. Heightened scrutiny applies because the                 Act
             discriminates on the basis of transgender status.
              We have previously held that heightened scrutiny applies
          to laws that discriminate on the basis of transgender status,
          reasoning that gender identity is at least a “quasi-suspect
          class.” Karnoski v. Trump, 926 F.3d 1180, 1200–01 (9th Cir.
          2019).
              In Karnoski, we reviewed an injunction against the
          implementation of a 2017 Presidential Memorandum and
          Departments of Defense and Homeland Security policies
          that effectively precluded transgender individuals from
          serving in the U.S. military. Id. at 1189. The district court
          had applied strict scrutiny in enjoining the policy, while the
          government argued that the policy should be reviewed under
          a rational basis standard. Id. at 1200. We held that because
          the implementing policy “on its face treats transgender
          persons differently than other persons . . . something more
          than rational basis but less than strict scrutiny applies.” Id.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 35 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 35 of 58
                                      HECOX V. LITTLE                              35


          at 1201. We therefore adopted the heightened scrutiny
          approach of VMI and Witt v. Department of Air Force, 527
          F.3d 806, 818 (9th Cir. 2008), to review the military’s ban
          on transgender persons who experienced gender dysphoria
          or who have undergone gender transition.11 Id. We are thus
          compelled to review the constitutionality of the Act under
          heightened scrutiny as it classifies based on transgender
          status.
              Moreover, discrimination on the basis of transgender
          status is a form of sex-based discrimination. It is well-
          established that sex-based classifications are subject to
          heightened scrutiny. See VMI, 518 U.S. at 533–34. The
          Supreme Court recently held in the Title VII context that “it
          is impossible to discriminate against a person for being . . .
          transgender without discriminating against that individual
          based on sex.” Bostock v. Clayton County, 590 U.S. 644,
          660 (2020).12 Indeed, “[m]any courts . . . have held that


          11
             The Supreme Court determined in VMI that for “cases of official
          classification based on gender” a reviewing court must apply a
          “heightened review standard” and determine whether the state has
          demonstrated an “exceedingly persuasive justification” for the
          classification. 518 U.S. at 533–34. In Witt, we applied a “heightened
          scrutiny” approach to the military’s “Don’t Ask, Don’t Tell” policy for
          gay and lesbian servicemembers, determining that “when the
          government attempts to intrude upon the personal and private lives of
          homosexuals . . . the government must advance an important
          governmental interest, the intrusion must significantly further that
          interest, and the intrusion must be necessary to further that interest.” 527
          F.3d at 819.
          12
            See also Nondiscrimination on the Basis of Sex in Education Programs
          or Activities Receiving Federal Financial Assistance, 87 Fed. Reg.
          41,390, 41,571 (Aug. 1, 2024) (to be codified at 34 C.F.R. pt. 106)
          (clarifying that “discrimination on the basis of sex” under Title IX
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 36 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 36 of 58
          36                          HECOX V. LITTLE


          various forms of discrimination against transgender
          individuals constitute sex-based discrimination for purposes
          of the Equal Protection Clause because such policies punish
          transgender persons for gender non-conformity, thereby
          relying on sex stereotypes.” Grimm v. Gloucester Cnty. Sch.
          Bd., 972 F.3d 586, 608 (4th Cir. 2020) (applying heightened
          scrutiny to a bathroom policy); see also Whitaker ex rel.
          Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ.,
          858 F.3d 1034, 1051 (7th Cir. 2017), abrogated on other
          grounds, Illinois Republican Party v. Pritzker, 972 F.3d 760
          (7th Cir. 2020) (same); Brandt ex rel. Brandt v. Rutledge, 47
          F.4th 661, 670–71 & n.4 (8th Cir. 2022) (applying
          heightened scrutiny to affirm a preliminary injunction
          against a law that prohibited “gender transition procedures”
          because the law discriminated on the basis of sex); Eknes-
          Tucker v. Marshall, 603 F. Supp. 3d 1131, 1147 (M.D. Ala.
          2022) (applying heightened scrutiny to a law that prohibited
          various medical treatments for gender dysphoria in
          minors).13
          c. Heightened scrutiny applies because the Act
             discriminates against all participants in female sports.
              In addition to discriminating on the basis of transgender
          status, the Act discriminates on the basis of sex, because only

          includes discrimination based on “sex stereotypes, sex characteristics . . .
          and gender identity”).
          13
             Both Idaho and the Intervenors note that the Eleventh Circuit
          expressed “grave doubt” in a footnote in Adams that transgender people
          constitute a “quasi-suspect class.” Adams, 57 F.4th at 803 n.5 (internal
          quotation marks omitted). This dictum is unpersuasive, as the Eleventh
          Circuit declined to decide the issue or further opine on its “doubt.” In
          any event, as a three-judge panel we cannot overrule the binding
          precedent of our circuit. See Miller v. Gammie, 335 F.3d 889, 899 (9th
          Cir. 2003).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 37 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 37 of 58
                                 HECOX V. LITTLE                      37


          students who participate on female designated sports teams,
          and not students who participate on male designated sports
          teams, are subject to the sex dispute verification process.
          The Act expressly states that only “[a]thletic teams or sports
          designated for females, women, or girls shall not be open to
          students of the male sex.” Idaho Code § 33-6203(2). The
          Act does not ban “biological females” from “teams or sports
          designated for males.” Therefore, transgender and cisgender
          men who compete on male-designated teams are not subject
          to the sex dispute verification process. The sex dispute
          verification process simply does not apply to male
          designated sports teams.
              The Act thus classifies on the basis of sex by subjecting
          only participants in women’s and girls’ sports, whether
          cisgender or transgender, to the risk and humiliation of
          having their sex “disputed” and then suffering intrusive
          medical testing as a prerequisite for participation on school
          sports teams. And where women’s and girls’ sports are
          subject to separate requirements for educational
          opportunities that are “unequal in tangible and intangible”
          ways from those for men, those requirements are tested
          under heightened scrutiny. VMI, 518 U.S. at 547.
            2. The Act likely does not survive heightened scrutiny.
              The district court correctly concluded that the Act likely
          does not survive heightened scrutiny. Heightened scrutiny
          is a “demanding” standard, with the burden “rest[ing]
          entirely on the State” to demonstrate an “exceedingly
          persuasive” justification for its differential treatment. VMI,
          518 U.S. at 533. To survive heightened scrutiny, the
          government must demonstrate “that the [challenged]
          classification serves important governmental objectives and
          that the discriminatory means employed are substantially
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 38 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 38 of 58
          38                     HECOX V. LITTLE


          related to the achievement of those objectives.” Id. at 516
          (alteration in original) (internal quotation marks and
          citations omitted). Our review under heightened scrutiny is
          an extremely fact-bound test, requiring us to “examine [a
          policy’s] actual purposes and carefully consider the resulting
          inequality to ensure our most fundamental institutions
          neither send nor reinforce messages of stigma or second-
          class status.” SmithKline Beecham Corp. v. Abbott Labs.,
          740 F.3d 471, 483 (9th Cir. 2014).
              Appellants contend that, “[d]ue to the average
          physiological differences” between men and women, the Act
          substantially advances the important state interest of
          “promot[ing] sex equality . . . by providing opportunities for
          female athletes to demonstrate their skill, strength, and
          athletic abilities [and] opportunities to obtain recognition
          and accolades, college scholarships, and the numerous other
          long-term benefits that flow from success in athletic
          endeavors.”      Idaho Code § 33-6202(12).          We have
          previously held that furthering women’s equality and
          promoting fairness in female athletic teams is an important
          state interest. Clark I, 695 F.2d at 1131. However, on the
          record before us, the district court correctly determined that
          the Act’s means—categorically banning transgender women
          and girls from all female athletic teams and subjecting all
          participants in female athletics to intrusive sex verification
          procedures—likely are not substantially related to, and in
          fact undermine, those asserted objectives.
          a. Clark I and Clark II do not control the outcome of
             Lindsay’s claim.
              Our decisions in Clark I and Clark ex rel. Clark v.
          Arizona Interscholastic Ass’n (Clark II), 886 F.2d 1191 (9th
          Cir. 1989), are inapposite. In Clark I and Clark II, we held
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 39 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 39 of 58
                                 HECOX V. LITTLE                    39


          that public high schools could constitutionally prohibit
          cisgender male student athletes from participation on
          women’s teams in order to further the important government
          interest of “redressing past discrimination against women in
          athletics and promoting equality of opportunity between the
          sexes.” Clark I, 695 F.2d at 1131.
              Specifically in Clark I, we held that an Arizona
          Interscholastic Association policy that separated high school
          volleyball teams by gender and prohibited boys from playing
          on girls’ teams did not violate the Equal Protection Clause.
          Clark I, 695 F.2d at 1127. There, Clark wished to play on
          the girls’ volleyball team because his particular high school
          did not offer boys’ volleyball teams. Id. We first recognized
          that, in applying heightened scrutiny, “the Supreme Court is
          willing to take into account actual differences between the
          sexes, including physical ones.” Id. at 1229 (citing Michael
          M. v. Sonoma Cnty. Superior Ct., 450 U.S. 464, 468–69
          (1981) (upholding a statutory rape statute that held only
          males culpable because only women can become pregnant,
          thus furthering the government’s interest in preventing teen
          pregnancy)). We concluded that general gender separation
          in school sports was substantially related to the
          government’s interest in women’s equality in athletics. Id.
          at 1131. We reasoned that “due to average physiological
          differences, males would displace females to a substantial
          extent if they were allowed to compete for positions on the
          volleyball team.” Id. Thus, if men were allowed to compete
          on the women’s teams, women’s overall athletic
          opportunities would decrease, while men’s overall athletic
          opportunities would remain greater than women’s.
              Eight years later, in Clark II, the original Clark I
          plaintiff’s brother brought a second “mystifying” action
          challenging the same policy, arguing that the state “ha[d]
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 40 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 40 of 58
          40                       HECOX V. LITTLE


          been wholly deficient in its efforts to overcome the effects
          of past discrimination against women in interscholastic
          athletics, and that this failure vitiate[d] its justification for a
          girls-only volleyball team.” Clark II, 886 F.2d at 1193.
          Applying Clark I, we affirmed that the gender classification
          for Arizona school sports was constitutional. Id. at 1194.
              Appellants argue that “[t]he only difference between
          Hecox and the Clark brothers is gender identity,” which does
          not change the physiological advantages that “biological
          males” have over cisgender women. But this is a false
          assumption. First, Lindsay takes medically prescribed
          hormone therapy to suppress her testosterone and raise her
          estrogen levels. This treatment has lowered her circulating
          testosterone levels—which impact athletic prowess and have
          slowed her racing times by at least “five to ten percent”—
          and her testosterone levels were “well below the levels
          required to meet NCAA eligibility for cross country and
          track” in Fall 2022, as the district court found. See Hecox I,
          479 F. Supp. 3d at 946.             Lindsay’s treatment has
          dramatically altered her bodily systems and secondary sex
          characteristics. As the district court found, “it is not clear
          that transgender women who suppress their testosterone
          have significant physiological advantages over cisgender
          women,” unlike the cisgender boys at issue in Clark I and
          Clark II. Id. at 978. The record in Clark I made clear that
          sex was a valid proxy for average physiological differences
          between men and women. Here, by contrast, the district
          court found that the ban on transgender female athletes
          applies broadly to many students who do not have athletic
          advantages over cisgender female athletes. Thus, a faithful
          application of Clark I supports, rather than undermines, the
          district court’s reasoning here.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 41 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 41 of 58
                                 HECOX V. LITTLE                     41


              Second, as the district court noted, transgender women,
          “like women generally . . . have historically been
          discriminated against, not favored.” Id. at 977. A recent
          study by the CDC concluded that “transgender students
          reported significantly higher incidents of being bullied,
          feeling unsafe traveling to or from school, being threatened
          with a weapon at school, and being made to engage in
          unwanted sexual relations.” Br. of Amici Curiae GLBTQ
          Legal Advocates & Defenders and the National Center for
          Lesbian Rights, at 9; see also Whitaker, 858 F.3d at 1051
          (“There is no denying that transgender individuals face
          discrimination, harassment, and violence because of their
          gender identity.”). Unlike the policy in Clark I, the Act
          perpetuates historic discrimination against both cisgender
          and transgender women by categorically excluding
          transgender women from athletic competition and subjecting
          all participants in women’s athletics to an invasive sex
          dispute verification process.
              Moreover, the district court correctly found that “under
          the Act, women and girls who are transgender will not be
          able to participate in any school sports, unlike the boys in
          Clark I, who generally had equal [or greater] athletic
          opportunities.” Hecox I, 479 F. Supp. 3d at 977. Here,
          unlike in Clark I, transgender women are not being denied
          one “particular opportunity” to participate on women’s
          teams even though their “overall opportunity is not inferior”
          to that of women. Clark I, 695 F.2d at 1126. As a practical
          matter, the Act bars transgender women and girls in Idaho
          from all participation in student athletics—under its explicit
          terms, they cannot play on teams that conform to their
          transgender status.         The argument advanced by
          Representative Ehardt that the Act does not discriminate
          against transgender women because they can still play on
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 42 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 42 of 58
          42                      HECOX V. LITTLE


          men’s teams is akin to the argument we rejected in Latta,
          that same-sex marriage bans do not discriminate against gay
          men because they are free to marry someone of the opposite
          sex. See Latta, 771 F.3d at 467 (holding unconstitutional
          two marriage bans that “distinguish on their face between
          opposite-sex couples who are permitted to marry and whose
          out-of-state marriages are recognized, and same-sex
          couples, who are not permitted to marry and whose
          marriages are not recognized”). As medical expert Dr. Jack
          Turban stated, “forcing [transgender students] to play on a
          sports team that does not match their gender identity would
          damage their mental health” by “forcing them to express
          themselves as cisgender.” Lindsay declared that she would
          never compete on a men’s team, as it would be
          “embarrassing and painful to be forced onto a team for
          men—like constantly wearing a big sign that says ‘this
          person is not a “real” woman.’”
              The district court also found that, on the record before it,
          “transgender women have not and could not ‘displace’
          cisgender women in athletics ‘to a substantial extent.’”
          Hecox I, 479 F. Supp. 3d at 977 (quoting Clark I, 695 F.2d
          at 1131). Appellants misrely on a single line from Clark II
          to argue that the participation of just one transgender woman
          on a team risks displacing any individual cisgender woman:
          “If males are permitted to displace females on the school
          volleyball team even to the extent of one player like Clark,
          the goal of equal participation by females in interscholastic
          athletics is set back, not advanced.” Clark II, 886 F.2d at
          1193. This statement, however, was made in response to the
          argument in Clark II that because sex separation had not
          fully met Arizona’s goal of equality of participation in
          sports, Arizona no longer had an important interest in the
          policy. We did not think Clark’s proposed remedy for the
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 43 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 43 of 58
                                  HECOX V. LITTLE                       43


          inequality of opportunities for female athletes—allowing
          him to play on the girls’ teams—would advance the “goal of
          equal participation by females in interscholastic sports.” Id.
          Because transgender women represent about 0.6 percent of
          the general population, the district court did not err in finding
          it unlikely that they would displace cisgender women from
          women’s sports.
              The only issue we decided in Clark—whether a sex-
          based classification was constitutionally permissible—is not
          in dispute here. Lindsay does not challenge the exclusion of
          cisgender males from female-designated sports. The
          question that is presented here—whether a classification
          based on transgender status is constitutionally permissible—
          is one that was not presented or discussed in Clark.
          b. The Act is likely not substantially related to an important
             government interest.
              Nor did the district court err in concluding that the Act
          likely fails heightened scrutiny because it is not substantially
          related to its stated goals of equal participation and
          opportunities for women athletes. The district court
          concluded that the Act’s categorical ban does not advance its
          asserted objectives based on three factual findings, none of
          which is “illogical, implausible, or without support in
          inferences that may be drawn from the facts in the record.”
          Pom Wonderful LLC v. Hubbard, 775 F.3d 1118, 1123 (9th
          Cir. 2014) (citation omitted). Moreover, the Act’s sweeping
          prohibition on transgender female athletes in Idaho—
          encompassing all students, regardless of whether they have
          gone through puberty or hormone therapy, without any
          evidence of transgender athletes displacing female athletes
          in Idaho, and enforced through a mechanism that subjects all
          participants in female athletics to the threat of an invasive
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 44 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 44 of 58
          44                      HECOX V. LITTLE


          physical examination—is likely too unrelated to the State’s
          legitimate objectives to satisfy heightened scrutiny.
              First, the district court found that there was scientifically
          “no evidence to suggest a categorical bar against a
          transgender female athlete’s participation in sports is
          required in order to promote ‘sex equality’ or to ‘protect
          athletic opportunities for females’ in Idaho.” Hecox I, 479
          F. Supp. 3d at 978–79. Appellants argue that the district
          court misread the available medical evidence, which they
          contend demonstrates that endogenous testosterone levels
          give “biological males” a permanent athletic advantage over
          cisgender women. However, the district court did not clearly
          err by relying upon the testimony of a medical expert, Dr.
          Safer, who testified that there was a medical consensus that
          the “primary known driver of differences in athletic
          performance between elite male athletes and elite female
          athletes” is “the difference in [circulating] testosterone”
          levels, as opposed to “endogenously produced” testosterone
          levels, and “[a] person’s genetic make-up and internal and
          external reproductive anatomy are not useful indicators of
          athletic performance and have not been used in elite
          competition for decades.” The district court reasonably
          credited Dr. Safer’s opinion that a transgender woman who
          received hormone therapy to lower her circulating levels of
          testosterone would likely not have “physiological
          characteristics” that would lead to enhanced athletic prowess
          when compared to a cisgender woman.
              Appellants presented contrary medical testimony by Dr.
          Gregory Brown that hormone therapy suppression did not
          eliminate all of the physiological advantages that an
          individual experiences through male puberty. However, as
          the district court found, Dr. Brown’s opinion was not
          supported by the studies he relied upon, because the majority
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 45 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 45 of 58
                                  HECOX V. LITTLE                      45


          of the studies he cited discussed the average differences
          between male and female athletes in general, not the
          difference between transgender and cisgender women
          athletes. And one study that he cited—the Handelsman
          study—actually came to the opposite conclusion, concluding
          that “evidence makes it highly likely that the sex difference
          in circulating testosterone of adults explains most, if not all,
          of the sex differences in sporting performance.”
              The studies that the Idaho legislature relied upon to
          conclude that the benefits of “natural testosterone” could not
          be diminished through hormone therapy were likewise
          flawed. For example, one of the studies was altered after
          peer review to remove its conclusions regarding transgender
          athletes, and, as Idaho concedes, that “study and its findings
          were not based specifically on transgender athletes.” The
          legislature also relied on a study by Professor Coleman, who
          personally urged Governor Little to veto the bill because the
          legislature had misinterpreted her work.
              Moreover, as the district court found, the Act sweeps
          much more broadly than simply excluding transgender
          women who have gone through “endogenous puberty.” The
          Act’s categorical ban includes transgender students who are
          young girls in elementary school or even kindergarten.
          Other transgender women take puberty blockers and never
          experience endogenous puberty, yet the Act indiscriminately
          bars them from participation in women’s student athletics,
          regardless of their testosterone levels. Although the
          scientific understanding of transgender women’s potential
          physiological advantage is fast-evolving and somewhat
          inconclusive, we are limited to reviewing the record before
          the district court. And the record in this case does not
          ineluctably lead to the conclusion that all transgender
          women, including those like Lindsay who receive hormone
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 46 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 46 of 58
          46                         HECOX V. LITTLE


          therapy, have a physiological advantage over cisgender
          women.
              Second, as the district court found, there was very little
          anecdotal evidence at the time of the Act’s passage that
          transgender women had displaced or were displacing
          cisgender women in sports or scholarships or like
          opportunities. In 2020, both the IOC and the NCAA
          required transgender women to suppress their testosterone
          for only a year for eligibility to compete on women’s
          teams.14 The record before the district court includes
          anecdotal evidence of only four transgender athletes who
          had ever competed in cisgender women’s sports, including
          two high school runners who competed in Connecticut and


          14
             Although today the IOC and NCAA policies evaluate eligibility for
          transgender participation in athletics on a sport-by-sport basis, neither
          policy endorses the categorical exclusion of transgender women. They
          instead favor an “evidence-based approach” with “no presumption of
          advantage.” Int’l Olympics Comm., IOC Framework on Fairness,
          Inclusion and Non-Discrimination on the Basis of Gender Identity and
          Sex Variations 4 (2021), https://stillmed.olympics.com/media/
          Documents/Beyond-the-Games/Human-Rights/IOC-Framework-
          Fairness-Inclusion-Non-discrimination-2021.pdf#page=4 (last visited
          June 6, 2023); see also Nat’l Collegiate Athletics Ass’n, Transgender
          Student-Athlete      Participation     Policy   (April     17,    2023),
          https://www.ncaa.org/sports/2022/1/27/transgender-participation-
          policy.aspx (last visited May 24, 2023). And while the World Athletics
          Council, the international governing body for track and field, recently
          adopted a more stringent policy of categorically excluding post-
          pubescent transgender women from elite athletic competitions, its policy
          does not bar transgender women who have not experienced endogenous
          puberty from eligibility. See Press Release, World Athletics Counsel,
          World Athletics Council Decides on Russia, Belarus, and Female
          Eligibility (Mar. 23, 2023), https://worldathletics.org/news/press-
          releases/council-meeting-march-2023-russia-belarus-female-eligibility
          (last visited May 24, 2023).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 47 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 47 of 58
                                 HECOX V. LITTLE                    47


          were subsequently defeated by cisgender women in
          competition. While the Intervenors state they were defeated
          by a transgender athlete, June Eastwood, in a running
          competition at the University of Montana, Eastwood
          eventually lost to a different cisgender athlete in that same
          competition. Lindsay’s own athletic career belies the
          contention that transgender women who have undergone
          male puberty have an absolute advantage over cisgender
          women: she has never qualified for BSU’s track team despite
          trying out.
              There is likewise no evidence in the record of a
          transgender woman receiving an athletic scholarship over a
          cisgender woman in Idaho. Moreover, as the district court
          noted, the Act’s broad sweep—banning transgender
          women’s participation not just in high school and college
          athletics, but elementary school and club sports—“belies any
          genuine concern with an impact on athletic scholarships,”
          which are relevant to only a small portion of the competitive
          teams encompassed by the Act. Hecox I, 479 F. Supp. 3d at
          983.
              Of course, when applying heightened scrutiny, we “must
          accord substantial deference to the predictive judgments” of
          legislative bodies. Turner Broad. Sys., Inc. v. FCC, 512 U.S.
          622, 665 (1994). But this does not “insulate[]” predictive
          judgments “from meaningful judicial review altogether.” Id.
          at 666. “[U]nsupported legislative conclusions as to whether
          particular policies will have societal effects of the sort at
          issue in this case—determinations which often, as here,
          implicate constitutional rights—have not been afforded
          deference by the [Supreme] Court.” Latta, 771 F.3d at 469;
          see also Lopez-Valenzuela v. Arpaio, 770 F.3d 772, 784 (9th
          Cir. 2014) (en banc) (“[T]he absence of any credible
          showing that the [challenged law] addressed a particularly
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 48 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 48 of 58
          48                          HECOX V. LITTLE


          acute problem” was “quite relevant” to a showing that the
          law did not survive heightened scrutiny.). A vague,
          unsubstantiated concern that transgender women might one
          day dominate women’s athletics is insufficient to satisfy
          heightened scrutiny.
              Third, the district court questioned the Act’s true
          objectives, finding that Idaho’s interest was not in
          “promoting sex equality” but in “excluding transgender
          women and girls from women’s sports entirely.” Hecox I,
          479 F. Supp. 3d at 983. Before the Act’s passage, the
          existing NCAA and Idaho state rules governed transgender
          women’s participation as measured by circulating
          testosterone levels, and there was no record evidence that
          transgender women and girls threatened to dominate female
          student athletics. The record indicates that Idaho may have
          wished “to convey a message of disfavor” toward
          transgender women and girls, who are a minority in this
          country. See Latta, 771 F.3d at 476. And “[t]his is a
          message that Idaho . . . simply may not send” through
          unjustifiable discrimination.15 Id. at 476.

          15
            The Fourth Circuit recently held that West Virginia’s categorical ban
          could not be applied to “prevent a 13-year-old transgender girl who takes
          puberty blocking medication and has publicly identified as a girl since
          the third grade from participating in her school’s cross country and track
          teams.” B.P.J. by Jackson v. W. Va. State Bd. of Educ., 98 F.4th 542,
          550 (4th Cir. 2024). Other federal and state courts have similarly
          enjoined transgender sports bans, and no categorical ban has yet been
          upheld on appeal. See Doe v. Horne, No. 23-16026 (9th Cir.) (pending
          appeal challenging the preliminary injunction against Arizona’s statute
          regulating transgender female athlete participation); A.M. by E.M. v.
          Indianapolis Pub. Sch., 617 F. Supp. 3d 950, 969 (S.D. Ind. July 26,
          2022), appeal dismissed, No. 22-2332, 2023 WL 371646, at *1 (7th Cir.
          Jan. 19, 2023) (granting a preliminary injunction against transgender
          participation in athletics under Title IX); Roe v. Utah High Sch. Activities
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 49 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 49 of 58
                                      HECOX V. LITTLE                            49


              Further evidencing the lack of means-ends fit between
          the categorical ban of transgender female athletes and the
          Legislature’s purported purpose of promoting athletic
          equality is the Act’s overly broad enforcement mechanism:
          the sex dispute verification provision, which is integral to the
          Act’s operation.16 Under the Act, anyone—be it a teammate,
          coach, parent, or a member of an opposing team—may
          “dispute” a player’s “biological sex,” requiring that player to
          visit her “personal health care provider . . . [who will] verify
          the student’s biological sex” through the player’s
          “reproductive anatomy, genetic makeup, or normal
          endogenously produced testosterone levels.” Idaho Code
          § 33-6203(3). The Act’s express terms limit the verification
          procedure to a “routine sports physical examination” by
          “relying only on one (1) or more of the following: the


          Ass’n, No. 220903262, 2022 WL 3907182, at *1 (Utah Dist. Ct. Aug.
          19, 2022) (granting a preliminary injunction against a categorical ban
          under the Utah Constitution’s equivalent of an equal protection clause);
          see also Barrett v. Montana, No. DV-21-581B, at *5–7 (Mont. Dist. Ct.
          Sept. 14, 2022) (granting summary judgment against a categorical ban
          on the ground that only Montana public university officials have the
          authority to regulate athletic competition in public universities).
          16
             In its petition for rehearing en banc, Idaho argues that Lindsay lacks
          Article III standing to challenge the dispute and sex verification
          procedures. Pet. Reh’g En Banc at 2, 15–16. We need not address this
          argument because we do not consider whether the dispute and sex
          verification procedures constitute an independent equal protection
          violation; we address only whether Lindsay is likely to succeed on her
          equal protection challenge to the transgender ban as a whole.
          Furthermore, to the extent Idaho challenges Lindsay’s standing to
          challenge section 33-6203(3), we reject the argument. Lindsay has
          standing to challenge section 33-6203(3) because it is an integral part of
          the transgender ban that she indisputably has standing to challenge—it
          supplies “the Act’s definition of ‘biological sex.’” Hecox I, 479 F. Supp.
          3d at 984.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 50 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 50 of 58
          50                     HECOX V. LITTLE


          student’s reproductive anatomy, genetic makeup, or normal
          endogenously produced testosterone levels.” Id. (emphasis
          added). By its plain text, the Act provides that a student’s
          sex can be verified exclusively by these three enumerated
          methods.     Thus, the district court reasonably found
          incredulous defense counsel’s argument that the Act merely
          required Lindsay to obtain a letter from her doctor stating
          that Lindsay “is female.” Hecox I, 479 F. Supp. 3d at 964 &
          n.19, 983. If that was all that was required to verify a
          student’s sex under the Act, Lindsay could simply obtain
          such a statement and the Act (and this appeal) would be
          rendered meaningless.
              Any one of the three exclusive procedures requires far
          more than a “routine sports physical” exam or simply asking
          whether a patient is female or not. As Lindsay’s medical
          expert Dr. Sara Swobada described, analyzing a student’s
          “genetic makeup” would require referral to a “pediatric
          endocrinologist” who would conduct a “chromosomal
          microarray” that would reveal a “range of genetic
          conditions” beyond sex chromosomes. Hormone testing
          would also require an “pediatric endocrinologist,” and is not
          a “routine part of any medical evaluation.” Of course, the
          expense and burden of these tests would be borne only by
          the students who play female athletics and their families.
              Requiring a student to find a medical practitioner to
          examine their reproductive anatomy, which is what a typical
          gynecological exam entails, is unconscionably invasive,
          with the potential to traumatize young girls and women. As
          Dr. Swobada opined, examining a female patient’s
          “reproductive anatomy” would necessitate inspecting a
          student athlete’s genitalia and conducting a pelvic
          examination or transvaginal ultrasound to determine
          whether that student has ovaries. She further explained that
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 51 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 51 of 58
                                      HECOX V. LITTLE                            51


          pelvic examinations for young patients are generally not
          required for minors, including adolescents, and are only
          conducted when medically necessary “with sedation and
          appropriate comfort measures to limit psychological
          trauma.” Yet the Act’s sex verification process subjects girls
          as young as elementary schoolers to unnecessary
          gynecological examinations merely because an individual
          “disputes” their sex.
              The psychological burden of these searches falls not only
          on transgender women like Lindsay but also on all women
          and girls who play female athletics. As amici describe,
          “[s]ex verification procedures have a long, checkered history
          in female sports that continue to this day.” Br. of Amici
          Curiae National Women’s Law Center, et al. at 15. In the
          1960s, the IOC would force female athletes to strip and
          parade in front of a panel of doctors to prove that they were,
          in fact, women. Id. The process was discontinued after a
          public outcry. Id. One intersex athlete who failed a sex
          verification procedure described being “so ‘tormented’ and
          ‘unbearably embarrassed’ that ‘she attempted suicide’ by
          ‘swallowing poison.’” Id. at 17 (quoting Ruth Padawer, The
          Humiliating Practice of Sex-Testing Female Athletes, N.Y.
          Times Magazine (June 28, 2016)). Tellingly, while many
          athletic organizations have tightened their rules for
          transgender women’s competition since 2020, none appears
          to have instituted a process that required gynecological
          examinations or invasive physical examinations.17 Of the
          twenty-four other states that have passed restrictions on

          17
              The IOC has expressly disavowed invasive sex verification
          procedures, stating that “[c]riteria to determine eligibility for a gender
          category should not include gynecological examinations or similar forms
          of invasive physical examinations, aimed at determining an athlete’s sex,
          sex variations or gender.” See Int’l Olympic Comm., supra, at 5.
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 52 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 52 of 58
          52                          HECOX V. LITTLE


          transgender women’s participation in women’s sports, none
          has authorized a similar sex verification process.18 Idaho has
          not offered any “exceedingly persuasive justification”
          warranting the imposition of this objectively degrading and
          disturbing process on young women and girls who
          participate in female athletics.
              We must “reject measures that classify unnecessarily and
          overbroadly by gender when more accurate and impartial
          lines can be drawn.” Sessions v. Morales-Santana, 137 582
          U.S. 47, 63 n.13 (2017). While the Act purports to further
          athletic opportunities for Idaho’s female students, the district
          court correctly concluded that the Act does not further this
          goal, and in fact “appears unrelated to the interests the Act
          purportedly advances.” Hecox I, 470 F. Supp. 3d at 979.
          And “[i]ntentional discrimination on the basis of gender by
          state action violates the Equal Protection Clause[] where, as
          here, the discrimination serves to ratify and perpetuate
          invidious, archaic, and overbroad stereotypes.” J.E.B. v.
          Alabama ex rel. T.B., 511 U.S. 127, 131 (1994). Thus, we
          need not and do not decide what policy would justify the
          exclusion of transgender women and girls from Idaho
          athletics under the Equal Protection Clause, because the
          profound lack of means-end fit here demonstrates that the
          Act likely does not survive heightened scrutiny.




          18
             Most states that have instituted categorical bans on transgender
          participation in student athletics have verified sex via a student’s birth
          certificate. Oklahoma and Kentucky require a student or a student’s
          parent or legal guardian submit sworn affidavits to confirm their
          “biological sex.” See Okla. Stat. Ann. tit. 70, § 27-106(D); Ky. Rev.
          Stat. Ann. § 164.2813(2).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 53 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 53 of 58
                                 HECOX V. LITTLE                     53


                              B. Irreparable Harm
              The district court properly concluded that Lindsay faced
          irreparable harm absent an injunction. “It is well established
          that the deprivation of constitutional rights unquestionably
          constitutes irreparable injury.” Hernandez v. Sessions, 872
          F.3d 976, 994 (9th Cir. 2017) (internal quotation marks and
          citation omitted).      Therefore, as the Act is likely
          unconstitutional, “it follows inexorably . . . that [Hecox]
          ha[s] [] carried [her] burden as to irreparable harm.” Id. at
          995.
             More concretely, if the preliminary injunction is lifted,
          Lindsay will be barred from trying out for or participating on
          any women’s sports at BSU, including the women’s club
          soccer team, which she joined to improve her running skills
          and experience “the camaraderie of being on a team.” See
          Idaho Code § 33-6203(3). Lindsay would also be subject to
          the threat of the sex dispute verification process and
          unnecessary examinations or medical testing. These are all
          specific “harm[s] for which there is no adequate legal
          remedy” in the absence of an injunction. Ariz. Dream Act
          Coal. v. Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014).
                 C. Balance of the Equities & Public Interest
              The district court also did not err in concluding that the
          balance of the equities weighed in favor of a preliminary
          injunction. The third and fourth preliminary injunction
          factors—assessing the harm to the opposing party and
          weighing the public interest—merge where, as here, the
          government is the opposing party. Nken, 556 U.S. at 435.
          Here, Lindsay faces deeply personal, irreparable harms
          without injunctive relief, including being barred from all
          female college athletic teams and the prospect of invasive
          medical testing if her gender is “disputed.”
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 54 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 54 of 58
          54                      HECOX V. LITTLE


              The preliminary injunction does not appear to inflict any
          comparable harm on the Appellants. Under the pre-Act
          status quo, the NCAA policies for college athletics and the
          IHSAA policies for high school athletics govern transgender
          female participation in sports, and Idaho schools have
          complied with those policies for over a decade. The district
          court found no “evidence that transgender women threatened
          equality in sports, girls’ athletic opportunities, or girls’
          access to scholarships in Idaho” during that decade, and thus
          Appellants failed to demonstrate any harm from issuance of
          the injunction. Hecox I, 479 F. Supp. 3d at 988. Moreover,
          as the district court found, Intervenors themselves may also
          be harmed by the sex dispute verification process, to which
          they are subject simply by virtue of playing sports in Idaho.
          Because “the public interest and the balance of the equities
          favor preven[ting] the violation of a party’s constitutional
          rights,” Ariz. Dream Act, 757 F.3d at 1060 (alteration in
          original) (internal quotation marks and citation omitted), we
          affirm that the district court did not abuse its discretion in
          weighing this factor.
                     IV. SCOPE OF THE INJUNCTION
              Although we agree with the district court that the Act
          harms “not just the constitutional rights of transgender girls
          and women athletes . . . [but also] the constitutional rights of
          every girl and woman athlete in Idaho,” we remand to the
          district court to clarify the scope of the preliminary
          injunction. Hecox I, 479 F. Supp. 3d at 988. “A district court
          has considerable discretion in fashioning suitable relief and
          defining the terms of an injunction,” and “[a]ppellate review
          of those terms ‘is correspondingly narrow.’” Lamb-Weston,
          Inc. v. McCain Foods, Ltd., 941 F.2d 970, 974 (9th Cir.
          1991) (quoting Coca-Cola Co. v. Overland, Inc., 692 F.2d
          1250, 1256 n.16 (9th Cir.1982)). However, injunctive relief
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 55 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 55 of 58
                                  HECOX V. LITTLE                      55


          “must be tailored to remedy the specific harm alleged,” and
          “[a]n overbroad injunction is an abuse of discretion.” Id.
          (finding that a worldwide injunction to protect a trade secret
          was not an abuse of discretion). Under Federal Rule of Civil
          Procedure Rule 65(d)(1), “[e]very order granting an
          injunction . . . must: (A) state the reasons why it issued; (B)
          state its terms specifically; and (C) describe in reasonable
          detail—and not by referring to the complaint or other
          document—the act or acts restrained or required.”
              Here, the scope of the injunction is not clear. Although
          the district court granted Plaintiffs’ motion for preliminary
          injunction, the court’s order does not specify whether
          enforcement of the Act is enjoined in whole or in part, nor
          does it specify whether enforcement of the Act is enjoined
          facially or as applied to particular persons. See Hecox I, 479
          F. Supp. 3d at 988. On remand, the district court should
          tailor the injunction to provide the specificity that Rule
          65(d)(1) requires.
              We do not agree with the Intervenors, however, that the
          preliminary injunction would necessarily be overbroad as a
          matter of law if it extends to nonparties despite the district
          court’s dismissal of Lindsay’s facial challenge. “[A]n
          injunction ‘should be no more burdensome to the defendant
          than necessary to provide complete relief to the plaintiffs
          before the court.’” City & County of San Francisco v. Barr,
          965 F.3d 753, 765 (9th Cir. 2020) (quoting L.A. Haven
          Hospice, Inc. v. Sebelius, 638 F.3d 644, 664 (9th Cir. 2011)).
          “[B]ut there is ‘no general requirement that an injunction
          affect only the parties in the suit.’” East Bay Sanctuary
          Covenant, 993 F.3d 640, 680 (9th Cir. 2021) (quoting
          Bresgal v. Brock, 843 F.2d 1163, 1169–1170 (9th Cir. 1987).
          Rather, “[t]he equitable relief granted by the district court is
          acceptable where it is necessary to give prevailing parties the
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 56 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 56 of 58
          56                         HECOX V. LITTLE


          relief to which they are entitled.” Id. (quotation marks
          omitted). Before deciding whether it can accord Lindsay
          complete relief without enjoining the Act in part or in whole
          as to all female student athletes in Idaho, the district court
          should consider the effect, if any, of the Supreme Court’s
          decision in Labrador v. Poe, 144 S. Ct. 921 (2024).
                                            V.
              While we address only the Act before us, and opine on
          no other regulation or policy, we must observe that both the
          science and the regulatory framework surrounding issues of
          transgender women’s participation in female-designated
          sports is rapidly evolving. Since Lindsay filed her initial
          challenge, the IOC and NCAA have adopted more limited
          policies as to transgender female participation in women’s
          sports, requiring the governing entities for each sport to
          formulate sport-specific policies. Relying on medical
          evidence, many sports organizations have tightened their
          eligibility criteria for transgender women’s teams, including
          incorporating guidelines for lower testosterone levels for
          eligibility to compete.19 The U.S. Department of Education
          has proposed new Title IX regulations addressing

          19
            See, e.g., USA Swimming, USA Swimming Releases Athlete Inclusion,
          Competitive Equity and Eligibility Policy (Feb. 1, 2022),
          https://tinyurl.com/mr2k4tvp (announcing a policy for USA Swimming
          that elite transgender women athletes must show testosterone levels
          below 5 nmol/L continuously for at least 36 months); Bicycling, The UCI
          Announces Changes to Its Policy on Transgender Athletes (June 17,
          2022), https://www.bicycling.com/news/a40320907/uci-transgender-
          policy-2022/ (announcing a testosterone limit of 2.5 nmol/L for elite
          bicyclists (halved from the previous 5.0 nmol/L) for a suppression period
          of 24 months); Olalla Cernuda, World Triathlon Executive Board
          approves Transgender Policy, World Triathlon (Aug. 3, 2022),
          https://tinyurl.com/yxw4syzw (requiring below a 2.5 nmol/L
          testosterone level for 24 months for triathletes).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 57 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 57 of 58
                                    HECOX V. LITTLE                          57


          restrictions on transgender athletes’ eligibility that would
          require “such criteria” to “be substantially related to the
          achievement of an important educational objective and
          minimize harms to students whose opportunity to participate
          on a male or female team consistent with their gender
          identity would be limited or denied.”20 These more narrowly
          drawn policies, which are not before us, attempt to balance
          transgender inclusion with competitive fairness—a policy
          question that such regulatory bodies are best equipped to
          address.
                                VI. CONCLUSION
              We recognize that, after decades of women being denied
          opportunities to meaningfully participate in athletics in this
          country, many cisgender women athletes reasonably fear
          being shut out of competition because of transgender athletes
          who “retain an insurmountable athletic advantage over
          cisgender women.” See Br. of Amici Curiae Sandra Bucha,
          et al. at 8. We also recognize that athletic participation
          confers on students not just an opportunity to win
          championships and scholarships, but also the benefits of
          shared community, teamwork, leadership, and discipline.
          See generally Br. of Amici Curiae 176 Athletes in Women’s
          Sports (describing the benefits of sports, and diversity in
          women’s sports, on all students). Excluding transgender
          youth from sports necessarily means that some transgender
          youth will be denied those educational benefits.
             However, we need not and do not decide the larger
          question of whether any restriction on transgender

          20
             Nondiscrimination on the Basis of Sex in Education Programs or
          Activities Receiving Federal Financial Assistance: Sex-Related
          Eligibility Criteria for Male and Female Athletic Teams, 88 Fed. Reg.
          22860 (proposed April 13, 2023) (to be codified at 34 C.F.R. pt. 106).
        Case 1:20-cv-00184-DCN Document 124 Filed 06/14/24 Page 58 of 58
Case: 20-35813,   06/14/2024, ID: 12891723, DktEntry: 253-1, Page 58 of 58
          58                      HECOX V. LITTLE


          participation in sports violates equal protection. Heightened
          scrutiny analysis is an extraordinarily fact-bound test, and
          today we simply decide the narrow question of whether the
          district court, on the record before it, abused its discretion in
          finding that Lindsay was likely to succeed on the merits of
          her equal protection claim. Because it did not, we affirm the
          district court’s order granting preliminary injunctive relief as
          applied to Lindsay, vacate the injunction as applied to non-
          parties, and remand to the district court to address the scope
          and clarity of the injunction.
            AFFIRMED IN PART; VACATED IN PART;
          REMANDED.
